Case 1:19-md-02875-RMB-SAK    Document 2591-1   Filed 01/17/24   Page 1 of 13
                              PageID: 90997



                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY
                       CAMDEN VICINAGE

                                         MDL No. 2875
IN RE: VALSARTAN, LOSARTAN,
AND IRBESARTAN PRODUCTS                  Honorable Robert B. Kugler,
LIABILITY LITIGATION                     District Court Judge


This Document Relates to All Actions


 DEFENDANTS ZHEJIANG HUAHAI PHARMACEUTICAL CO., LTD.,
HUAHAI U.S., INC., PRINSTON PHARMACEUTICAL INC., AND SOLCO
HEALTHCARE U.S., LLC’S MEMORANDUM OF LAW IN SUPPORT OF
   MOTION TO AMEND OR CORRECT THE COURT’S OPINION
              ON THE PARTIES’ LIABILITY EXPERTS
Case 1:19-md-02875-RMB-SAK          Document 2591-1      Filed 01/17/24    Page 2 of 13
                                    PageID: 90998



                                 INTRODUCTION

      The Court’s recent decision excluding in part several of the liability experts

in this case seems to contradict the age-old adage: “what is good for the goose is

good for the gander.” According to the Court, Dr. Ali Afnan may not opine that

the at-issue VCDs were not adulterated and were equivalent to Diovan because

such testimony would constitute “legal opinions.” At the same time, however,

plaintiffs’ experts can opine that the at-issue VCDs were adulterated and not

equivalent to Diovan. Because that disparate treatment violates fundamental

notions of fairness, and because Dr. Afnan’s opinions do not constitute legal

opinions in the first place, defendants respectfully request that this Court amend or

correct its ruling to allow both sides’ experts to testify on the topics of adulteration

and equivalence. Alternatively, if one side’s experts cannot testify on these topics,

the same restriction should apply to both.

      First, the Court applied different standards to plaintiffs’ and defendants’

experts in its recent Daubert ruling, excluding several of Dr. Afnan’s opinions as

“legal opinions,” while allowing Drs. Ramin Najafi and Laura Plunkett to offer the

opposite opinions. All three of these experts opine one way or the other on

adulteration: Drs. Najafi and Plunkett declare the at-issue VCDs are “adulterated,”

while Dr. Afnan disagrees that plaintiffs’ experts have support for their position

and considers the products not adulterated. But the Court has decided that only
Case 1:19-md-02875-RMB-SAK         Document 2591-1     Filed 01/17/24   Page 3 of 13
                                   PageID: 90999



plaintiffs’ experts can decree whether a product is adulterated, while Dr. Afnan

apparently cannot testify to the contrary. The Court also affords this same

disparate treatment to Dr. Afnan’s and Dr. Najafi’s opinions on equivalence,

barring Dr. Afnan from discussing the concept but giving Dr. Najafi free rein.

Barring (or admitting) only one side’s experts for reasons applicable to both sides

violates fundamental notions of fairness and unfairly forces the parties onto

unequal footing.

      Second, even putting aside the disparate treatment of plaintiffs’ and

defendants’ experts, Dr. Afnan’s excluded opinions do not constitute legal

opinions in the first place. Scores of courts in the Third Circuit and around the

country have repeatedly allowed FDA regulatory experts to testify regarding

regulatory requirements to assist the jury in understanding the FDA’s complex and

relatively unapproachable framework. Dr. Afnan is not trying to tell the jury what

opinions they should reach on liability, but instead seeks to help them understand

the regulatory scheme underlying the facts of this case.

                                 BACKGROUND

      On January 5, 2024, this Court issued an opinion excluding in part several of

the parties’ liability experts’ opinions. (See generally ECF No. 2581.) As the

Court explained, while the experts may “testify about a ‘fact’ that arises from their

chemical, medical, toxicological, regulatory, etc. expertise,” they may not testify



                                          2
Case 1:19-md-02875-RMB-SAK          Document 2591-1      Filed 01/17/24   Page 4 of 13
                                    PageID: 91000



“as to the LEGAL MEANING, i.e., the liability meaning, of the lack of such

guidance.” (Id. at 6.)

      The Court excluded several of defense expert Dr. Afnan’s opinions “because

they cross[ed] over into legal opinions . . . which he is unqualified to assert.” (Id.)

In particular, the Court will not allow Dr. Afnan to testify “that the VCDs were not

adulterated.” (Id.; see also, e.g., Am. Rep. of Ali Afnan, Ph.D. (“Afnan Rep.”) ¶¶

24, 138, Jan. 11, 2023 (ECF No. 2286-3 at Ex. 13).)1 Although Dr. Afnan relies on

the statutory definition of adulteration in coming to his opinion that the VCDs were

not adulterated (see Afnan Rep. ¶ 206), the Court considered Dr. Afnan’s opinion

that the VCDs were not adulterated to not be “based on an FDA’s or other legal

body’s determination” (ECF No. 2581 at 6). Further, the Court will not allow Dr.

Afnan to make “any assertion of therapeutical equivalence about VCDs and the

RLD, Diovan” (ECF No. 2581 at 6) and has excluded his opinion that “the




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       The Court similarly ruled that Teva’s expert, Dr. Roger Williams, cannot
opine that Teva’s VCDs “were not adulterated or misbranded” (Rep. of Roger Lea
Williams, M.D. ¶ 136, Jan. 28, 2023 (ECF No. 2295-3 at Ex. 1)) since it constitutes
a “legal opinion” (ECF No. 2581 at 17), and barred Teva’s expert, Timothy
Anderson, from testifying about “the meaning and interpretation of FDA
regulations and on the FDA definition of adulteration and on how the FDA applies
that definition to drugs that contain contaminants not included in the Orange Book
formulation” (id. at 8.)


                                           3
Case 1:19-md-02875-RMB-SAK          Document 2591-1      Filed 01/17/24     Page 5 of 13
                                    PageID: 91001



presence of trace impurities in a generic drug or drug component does not affect

bioequivalence” (Afnan Rep. ¶ 24).2

      As to plaintiffs’ expert Dr. Najafi, by contrast, the Court takes no issue with

his telling the jury that “[t]he Valsartan containing products . . . . were adulterated”

since they “were not manufactured in accordance with current good manufacturing

practices.” (Rep. of Ramin Najafi, Ph.D. (“Najafi Rep.”) at 38, Oct. 31, 2022

(ECF No. 2292-6).) Similarly, the Court will allow plaintiffs’ other expert, Dr.

Plunkett, to tell the jury “that valsartan API and finished drug products

manufactured and marketed by Defendants were ‘adulterated’ due to the presence

of nitrosamine impurities” (Rep. of Laura M. Plunkett, Ph.D., DABT (“Plunkett

Rep.”) ¶ 62, Oct. 31, 2022 (ECF No. 2285-3)) and explicitly stated that Dr.

Plunkett may “opine on the meaning of adulteration” to the jury (ECF No. 2581 at

23). Both experts relied on the same statutory definition as Dr. Afnan in coming to

their opinions about whether the at-issue VCDs were adulterated. (See, e.g., Najafi

Rep. at 11-12; Plunkett Rep. ¶ 25.)

      Likewise, although the Court will not allow Dr. Afnan to make any assertion

regarding the therapeutical equivalence between generic Valsartan and Diovan or




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       The Court similarly barred defendants’ shared expert, Dr. Michael Bottorff,
from “[u]sing, defining, explaining the term ‘therapeutic equivalence’ or clarifying
his interpretation of that term.” (ECF No. 2581 at 11.)


                                           4
Case 1:19-md-02875-RMB-SAK          Document 2591-1      Filed 01/17/24   Page 6 of 13
                                    PageID: 91002



offer his opinion that trace impurities do not affect bioequivalence, it does not take

issue with Dr. Najafi doing so. Indeed, among Dr. Najafi’s admitted opinions are

his assertions that “[g]eneric valsartan with NDMA and/or NDEA is not

chemically or pharmaceutically equivalent to the approved formulation and

impurity profile of brand name RLD/Diovan” and that “[t]he Valsartan containing

products that contained NDMA and NDEA were not the same as the approved

formulation and impurity profiles of Diovan.” (Najafi Rep. at 39.) The Court does

not mention these opinions in its discussion of Dr. Najafi’s opinions. (See ECF

No. 2581 at 21-22.)

                                    ARGUMENT

      “A district court may alter a prior decision due to the need to correct a clear

error of law or fact or to prevent manifest injustice.” Sheehan v. Del. & Hudson

Ry. Co., 439 F. App’x 130, 133 (3d Cir. 2011). Similarly, “[a] trial judge has the

discretion to reconsider an issue and should exercise that discretion whenever it

appears that a previous ruling, even if unambiguous, might lead to an unjust

result.” Id. (citation omitted). Further, “[i]t is an abuse of discretion ‘to exclude

the otherwise admissible opinion of a party’s expert on a critical issue, while

allowing the opinion of his adversary’s expert on the same issue.’” United States

v. Lankford, 955 F.2d 1545, 1552 (11th Cir. 1992) (citation omitted). Indeed,




                                           5
Case 1:19-md-02875-RMB-SAK         Document 2591-1      Filed 01/17/24    Page 7 of 13
                                   PageID: 91003



“fairness demands that if experts are presented, the jury must receive a full

presentation on both sides of an issue.” Id. at 1553.

I.    THE COURT DID NOT PROVIDE EQUAL TREATMENT TO
      PLAINTIFFS’ AND DEFENDANTS’ EXPERTS.

      The Court’s inconsistent rulings on similar opinions affords plaintiffs

favorable treatment. In particular, while the Court excluded several of Dr. Afnan’s

opinions regarding adulteration and the equivalence between the at-issue VCDs

and Diovan “because they cross over into legal opinions . . . which he is

unqualified to assert,” the Court takes no issue with Drs. Najafi and Plunkett

opining that the VCDs were adulterated and not equivalent to Diovan. (ECF No.

2581 at 6.) Allowing plaintiffs’ experts to opine whether the VCDs meet the

definition of adulteration or were equivalent to Diovan without allowing

defendants to meet those opinions with their own expert evidence, introduces

unfairness into the trial and presents grounds for reversal in the event of a verdict

for plaintiffs. See Lankford, 955 F.2d at 1551-52 (remanding for new trial and

reversing exclusion of defense expert “[b]ecause the government was allowed to

offer expert testimony on the reasonable tax implications of a ‘campaign

contribution,’ but the defense was not”).

      As explained above, Dr. Afnan and Drs. Najafi and Plunkett essentially

represent two sides of the same coin—while Dr. Afnan opines that the VCDs did

not meet the statutory definition of adulteration, Drs. Najafi and Plunkett opine that


                                            6
Case 1:19-md-02875-RMB-SAK          Document 2591-1      Filed 01/17/24   Page 8 of 13
                                    PageID: 91004



they did. Indeed, among Dr. Najafi’s admitted opinions is his statement that the

VCDs “were adulterated” because they “were not manufactured in accordance with

current good manufacturing practices.” (Najafi Rep. at 38.) Dr. Plunkett similarly

plans to tell the jury that the VCDs “were ‘adulterated’ due to the presence of

nitrosamine impurities.” (Plunkett Rep. ¶ 62.) On the other hand, Dr. Afnan

disagrees, opining that plaintiffs’ experts “lack support for the assertion that

generic valsartan API was adulterated at the time of sale” since “[w]hether a

pharmaceutical drug is adulterated is a determination made by the FDA,” and “a

drug cannot be retroactively deemed adulterated for purposes of litigation.”

(Afnan Rep. ¶ 138.)

      Despite these experts offering what amount to the same type of opinion—

whether the VCDs were adulterated—and basing those opinions on the same

definition of “adulterated,” the Court found that only defendants’ expert is offering

a “legal opinion[].” (ECF No. 2581 at 6.) According to the Court, when Drs.

Najafi and Plunkett declare to the jury that the VCDs meet the statutory definition

of “adulterated” they are offering proper expert opinion that “arises from [their]

expertise” (id. at 23; see also id. at 21), but when Dr. Afnan meets that opinion by

explaining that plaintiffs’ experts lack support for opinions on adulteration, he has

crossed the line “into legal opinions.” (Id. at 6.)




                                           7
Case 1:19-md-02875-RMB-SAK          Document 2591-1      Filed 01/17/24    Page 9 of 13
                                    PageID: 91005



      Those rulings are inconsistent and irreconcilable. If Dr. Afnan cannot opine

that the VCDs were not adulterated because it “cross[es] over into legal

opinions . . . which he is unqualified to assert” and because his opinions are “not

based on FDA’s or other legal body’s determination,” then plaintiffs’ experts

should not be allowed to opine that the VCDs were adulterated when they relied on

the same statutory definition of “adulteration.” (ECF No. 2581 at 6.) The same is

true regarding equivalence. Again, the Court held that Dr. Afnan entered the realm

of “legal opinion[]” by making assertions about bioequivalence and therapeutical

equivalence (id.); by contrast, it found that Dr. Najafi asserting the opposite was

proper expert testimony. (See Najafi Rep. at 39.)

      Accordingly, defendants respectfully request that the Court allow Dr. Afnan

to offer opinions on whether the VCDs were adulterated and equivalent to Diovan,

just as it is allowing plaintiffs’ experts to do. Alternatively, if one side is precluded

from offering such opinions, the same result should hold for both sides.

II.   DR. AFNAN’S OPINIONS DO NOT CONSTITUTE INADMISSIBLE
      LEGAL CONCLUSIONS.

      Even putting aside the disparities in the Court’s ruling, Dr. Afnan’s

testimony regarding bioequivalence and adulteration should be admitted because

he does not seek to offer inadmissible legal conclusions. Courts in this Circuit and

around the country “have repeatedly allowed FDA regulatory experts to testify

regarding regulatory requirements.” In re Suboxone (Buprenorphine


                                           8
Case 1:19-md-02875-RMB-SAK         Document 2591-1      Filed 01/17/24    Page 10 of 13
                                    PageID: 91006



Hydrochloride & Naloxone) Antitrust Litig., No. 13-MD-2445, 2020 WL 6887885,

at *45 (E.D. Pa. Nov. 24, 2020); see, e.g., Bartoli v. Novartis Pharms. Corp.,

No. 3:13-0724, 2014 WL 1515870, at *7 (M.D. Pa. Apr. 17, 2014) (FDA expert

“may testify as to the FDA regulatory scheme”); Pfizer Inc. v. Teva Pharms. USA,

Inc., 461 F. Supp. 2d 271, 278-79 (D.N.J. 2006) (admitting “general information

regarding the FDA’s regulation of prescription drug labeling” and the extent to

which pharmaceutical company complied with it); Wolfe v. McNeil-PPC, Inc., 881

F. Supp. 2d 650, 658, 660 (E.D. Pa. 2012) (admitting testimony on “FDA

regulation and [the defendant’s] regulatory compliance”); Robinson v. Ethicon,

Inc., 588 F. Supp. 3d 726, 736 (S.D. Tex 2022) (allowing the expert “to testify

about what the regulations require and [the defendant’s] conduct with regard to the

regulations” and to “use the terms ‘adulterated’ and ‘misbranded’ to demonstrate to

the jury what the regulations require”). If such testimony is to be limited at all, it

should only be limited to the extent it offers “final legal conclusions.” Robinson,

588 F. Supp. 3d at 736; see In re Suboxone, 2020 WL 6887885, at *46.

      The opinions the Court excluded from Dr. Afnan easily fall on the

admissible side of any line because they use terms of art like “adulterated” and

“therapeutically equivalent” to discuss “what the regulations require” and how

those regulations apply to ZHP’s conduct, without offering direct legal

conclusions. The Court’s sua sponte order expressly excluded not just specific



                                           9
Case 1:19-md-02875-RMB-SAK          Document 2591-1       Filed 01/17/24    Page 11 of 13
                                     PageID: 91007



legal conclusions, but also anything that would “imply, hint, or suggest” a legal

meaning, a holding that goes much further than the relevant precedents. (ECF No.

2581 at 6.) In addition, the specific sections of Dr. Afnan’s report that the Court

targeted do not directly answer questions reserved for the Court in interpreting the

law, or the jury in determining the facts. For example, the Court excluded the

opinion that “[w]hether a pharmaceutical drug or API is adulterated is a

determination made by the FDA.” (Afnan Rep. ¶ 24; see id. ¶ 138 (similar).) It

also excluded opinions that “impurities” do not “affect bioequivalence” (id.) and

that the at-issue VCDs “continue to be considered therapeutically equivalent” to

Diovan (id. ¶ 69). And it struck Dr. Afnan’s opinion that a guidance document

“does not provide legally enforceable requirements.” (Id. ¶ 53.) All of this

testimony is “helpful to the jury” “in light of the complex nature of the FDA

framework,” In re Suboxone, 2020 WL 6887885, at *45 (citations omitted), and

none of it crosses the line into telling the jury the result it should reach or telling

the Court exactly how regulations should be interpreted.

      For this reason, too, the Court should revise its order and deny plaintiffs’

motion to exclude Dr. Afnan in full.




                                            10
Case 1:19-md-02875-RMB-SAK         Document 2591-1     Filed 01/17/24    Page 12 of 13
                                    PageID: 91008



                                  CONCLUSION

      For the foregoing reasons, defendants respectfully request that the Court

amend or correct its ruling on the parties’ liability experts to allow defendants’

experts to offer opinions of the same kind and character as plaintiffs’ experts.

Dated: January 17, 2024                 Respectfully submitted,

                                        By: /s/ Jessica Davidson
                                        Jessica Davidson (NY Bar No. 6034748)
                                        SKADDEN, ARPS, SLATE, MEAGHER &
                                        FLOM LLP
                                        One Manhattan West
                                        New York, New York 10001
                                        Phone: (212) 735-3222
                                        Fax: (917) 777-3222
                                        jessica.davidson@skadden.com

                                        Nina R. Rose (DC Bar No. 975927)
                                        SKADDEN, ARPS, SLATE, MEAGHER &
                                        FLOM LLP
                                        1440 New York Avenue, N.W.
                                        Washington, D.C. 20005
                                        Telephone: (202) 371-7000
                                        Facsimile: (202) 661-0525
                                        nina.rose@skadden.com

                                            Attorneys for Zhejiang Huahai
                                            Pharmaceutical Co., Ltd., Huahai U.S.,
                                            Inc., Prinston Pharmaceutical Inc., and
                                            Solco Healthcare U.S., LLC




                                          11
Case 1:19-md-02875-RMB-SAK        Document 2591-1      Filed 01/17/24   Page 13 of 13
                                   PageID: 91009



                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on January 17, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to all CM/ECF participants in this matter.

                                       /s/ Jessica Davidson
                                       Jessica Davidson (NY Bar No. 6034748)




                                         12
